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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                              PLAINTIFF

           v.                           No. 05-50042

     JONATHAN D. BARR                                                      DEFENDANT

                                           ORDER

           Currently before the Court is the defendant’s pro se Motion

     for   Conformation     of   Sentence     Commencement      (Doc.   50)   and      the

     Government’s Response (Doc. 51).                The defendant seeks credit

     against his federal sentence for time served against a state

     sentence. As the Government points out, the defendant must present

     this claim to the Bureau of Prisons.           See United States v. Iversen,

     90 F.3d 1340, 1344 (8th Cir. 1996).              Accordingly, the motion is

     DENIED.

           IT IS SO ORDERED this 17th day of August 2007.



                                                   /S/JIMM LARRY HENDREN
                                                   JIMM LARRY HENDREN
                                                   UNITED STATES DISTRICT JUDGE




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